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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                        TENTH AMENDED GENERAL ORDER 20-0012

                                        February 12, 2021

                IN RE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY

         Given the public health emergency arising from the COVID-19 pandemic and consistent

 with guidance and orders from federal executive authorities, the State of Illinois, and local

 governments, it is hereby ORDERED:

                                       Court Remains Open

    1.   This Court remains open and accessible, subject to the limitations and procedures set

         forth below.

                             Suspension of In-Person Proceedings

    2.   All civil and criminal jury trials are suspended until April 5, 2021. The presiding judge in

         cases affected by this order shall enter any appropriate orders, including findings under

         the Speedy Trial Act, on the docket of the individual cases. Under 18 U.S.C.

         § 3161(h)(7)(A), the Court finds that the period of any continuance entered as a result

         of this Order through April 5, 2021, shall be excluded under the Speedy Trial Act, to

         serve the ends of justice. The Court finds that the delay outweighs the interests of the

         parties and the public in a speedy trial given the need to protect the health and safety of

         defendants, defense counsel, prosecutors, court staff, and the public by reducing the

         number of in-person hearings to the greatest extent possible.

    3.   All civil hearings, including bench trials, shall be conducted by means of remote

         telephone or video conference unless an in-person hearing is required by law.

    4.   Criminal case procedures remain governed by General Order 20-0022 and its

         amendments.




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                          Suspension of Local Rules 5.2(f) and 5.3(b)

    5.   The Court suspends Local Rule 5.2(f), which requires in many instances that paper

         courtesy copies of filings be delivered to the judge. No courtesy copies may be

         submitted for filings unless the parties receive case-specific requests for copies from

         the presiding judge.

    6.   The Court suspends Local Rule 5.3(b), which otherwise requires that all motions be

         noticed for presentment. No motions may be noticed for in-person presentment; the

         presiding judge will notify parties of the need, if any, for a hearing by electronic means

         or in-court proceeding.

                             Email Filing Option for Pro Se Parties

    7.   The Court suspends the prohibition against pro se parties emailing their filings to the

         Clerk’s Office. The Court will accept filings from pro se litigants via email that comply

         with these requirements: (a) the filing must be in PDF format; (b) the filing must be

         signed s/ [filer’s name] or bear a handwritten signature; (c) the email must be sent to

         Temporary_E-Filing@ilnd.uscourts.gov; (d) the email must state the party’s name,

         address, and phone number; (e) for existing cases, the email’s subject line must read:

         “Pro Se Filing [Insert Your Case Number]”, and for new cases, the email’s subject line

         must read: “Pro Se Filing in New Case”. E-mails that do not comply with these

         requirements will not be reviewed and will not be considered a proper filing.

                                    Clerk’s Office Operations

    8.   The Clerk’s Office is open during normal business hours by telephone and email.

         Filings may be: (a) electronically filed via CM/ECF; (b) deposited during business hours

         in the drop-box in the lobby of the Dirksen Courthouse for Eastern Division filings or in

         the drop box located on the 2nd floor of the Roszkowski United States Courthouse for

         Western Division filings; or (c) mailed to the U.S. District Court Clerk’s Office, 219 South

         Dearborn Street, 20th Floor, Chicago, IL 60604 for Eastern Division filings or to U.S.



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         District Court Clerk’s Office, 327 South Church Street, Rockford, IL 61101 for Western

         Division filings. If a filing is mailed by a prisoner, the traditional “mail box” rule shall

         govern its filing date. If a filing is mailed by a non-prisoner, the filing date shall be

         deemed to be the postmark date, subject to any party’s right to move that a different

         date be used. No in-person deliveries of any kind may be made to a judge’s chambers.

                                 Suspension of Public Gatherings

    9.   All public gatherings are suspended at both the Everett McKinley Dirksen U.S.

         Courthouse in Chicago and the Stanley J. Roszkowski U.S. Courthouse in Rockford,

         unless specifically authorized by the Chief Judge and until further order of this Court.

                                        Additional Provisions

    10. This Tenth Amended General Order does not affect the authority of judges to enter

         orders in any civil or criminal cases.

    11. The Court will vacate, amend, or extend this Tenth Amended General Order no later

         than April 5, 2021.

    12. The Clerk of Court shall distribute this Tenth Amended General Order by electronically

         posting the Order on the Court’s public website.

    13. This Tenth Amended General Order supersedes General Order 20-0033.



                                                ENTER:

                                          FOR THE COURT:


                           _____________________________________
                                         Chief Judge

 Dated at Chicago, Illinois this 12th day of February 2021




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